                         IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE MIDDLE DISTRICT OF PENNSYLVANIA



IN RE:                                       :        CASE NO. 1:18-bk-03790-HWV
                                             :
Seth B. Goldberg                             :
                                             :
                                             :
         Debtor                              :        CHAPTER 13



                                             ORDER


         UPON consideration of the foregoing Motion to Reinstate the dismissed Chapter 13

proceeding, good reason appearing therefor, it is

         HEREBY ORDERED and DECREED that the above-captioned proceeding be and

hereby is reinstated.

                                      By the Court,



                                      ____________________________________
                                      Henry W. Van Eck, Chief Bankruptcy Judge
                                      Dated: June 15, 2022




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